Case 1:20-cv-00742-DDD-KLM Document 325 Filed 08/17/22 USDC Colorado Page 1 of 9




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:20-cv-00742-DDD-KLM

   JAMES COREY GOODE, et al.

            Plaintiffs,

   v.

   GAIA, INC., et al.

            Defendants.

    THIRD-PARTY DEFENDANTS BRIAN JAMES FLYNN, WILLIAM CAMPBELL,
    MATTHEW GROVE, DIANA TERRY, AND CHRISTINA GOMEZ’S 1 RESPONSE
     TO ALYSSA MONTALBANO’S “EMERGENCY MOTION STAY COURT CASE
   18CV50 PURSUANT 28 USC 2283 AND CONSOLIDATE CASES PURUANT FRCP
                             42(A)” [DOC. 322]

            The State Defendants, through undersigned counsel, the Colorado Office of

   the Attorney General, respond in opposition to Alyssa Montalbano’s “Emergency

   Motion Stay Court Case 18CV50 Pursuant 28 USC 2283 and Consolidate Cases

   Pursuant FRCP 42(a),” [Doc. 322], as follows:

                                     INTRODUCTION

            Montalbano asks for extraordinary relief that this Court has no power to

   grant under either Fed. R. Civ. P. 42 or 28 U.S.C. § 2283. This Court should deny

   her motion.




   1   Together, these third-party defendants are the “State Defendants.”
Case 1:20-cv-00742-DDD-KLM Document 325 Filed 08/17/22 USDC Colorado Page 2 of 9




              FACTUAL BACKGROUND AND PROCEDURAL HISTORY

         A.     The recommendation to dismiss the State Defendants is
                pending.

         The State Defendants include one state district court judge (Judge Flynn),

   three current or former state appellate court judges (Judge Terry, Judge Grove, and

   Judge Gomez), and the former executive director of the Colorado Commission on

   Judicial Discipline (William Campbell). On February 28, 2022, Magistrate Judge

   Mix recommended complete dismissal of Montalbano’s claims against the State

   Defendants. See [Doc. 283 at 14–17]. Montalbano objected to the recommendation.

   Her objection has been fully briefed since early April.

         Among other things, Judge Mix determined that the doctrine of judicial

   immunity foreclosed Montalbano’s claims against Judge Flynn, who ruled against

   Montalbano in Mesa County District Court No. 18CV50 (the Mesa County case),

   and whose rulings form the basis of Montalbano’s second amended “counterclaims

   complaint” against him. [Id.]

         B.     A judgment creditor initiates post-judgment collections
                proceedings in the Mesa County case.

         Montalbano’s current motion concerns recent post-judgment collections

   proceedings in the Mesa County case. Earlier, Judge Flynn dismissed Montalbano’s

   complaint in the Mesa County case on January 29, 2020. (Ex. A.) Judge Flynn also

   awarded attorney fees in the amount of $116,600 against Montalbano because he

   found the plaintiff below (James Corey Goode, who is Plaintiff in this current




                                             2
Case 1:20-cv-00742-DDD-KLM Document 325 Filed 08/17/22 USDC Colorado Page 3 of 9




   lawsuit) was entitled to such fees under Colo. Rev. Stat. § 13-17-201 and § 13-17-

   102(4). (Id.; Ex. B.)

          The Mesa County case has been more-or-less dormant since Montalbano filed

   her notice of appeal. (Ex. C, 18CV50 Register of Actions). But on July 8, 2022, non-

   party Thomas D. Seaman filed a Motion to Transfer Interest and Amend Judgment.

   (Ex. D.) Seaman purported to have obtained an assignment of Goode’s judgment on

   behalf of his company, Alpine Judgment Recovery. (Id.) He sought to have his

   company recognized as the judgment creditor and to obtain authorization to issue

   pattern interrogatories (Id. at 2.)

          Judge Flynn granted Seaman’s motion. (Ex. E.) Montalbano objected. (Ex.

   F.) On August 5, 2022, Judge Flynn—noting that he “was unaware that

   [Montalbano] was intending to file an objection and was unable to see how the

   request made in the motion could prejudice her in any way and that she would have

   any basis under Colorado law to object”—vacated his prior order and permitted

   Montalbano to file a response to Seaman’s motion. (Ex. G.)

          C.     Montalbano asks this Court to intervene in the Mesa County
                 case.

          Montalbano filed this motion on August 5, 2022. First, she seeks “emergency

   consolidation” of this case with the Mesa County case under Fed R. Civ. P. 42(a)

   because, she alleges, both cases involve common issues of fact and some of the same

   parties (namely her, Judge Flynn, and Goode). She also alleges that failure to




                                            3
Case 1:20-cv-00742-DDD-KLM Document 325 Filed 08/17/22 USDC Colorado Page 4 of 9




   consolidate the cases will result in harm to her. [Doc. 322 at 3–6]. Second, she asks

   for emergency injunctive relief to stay the Mesa County case under 28 U.S.C. §

   2283. [Id. at 7–13]. This Court should deny Montalbano’s requested relief.

                                        ARGUMENT

   I.     Fed. R. Civ. P. 42 does not permit this Court to consolidate this case
          with the Mesa County case.

          Fed. R. Civ. P. 42(a)(2) states, in relevant part, that “[i]f actions before the

   court involve a common question of law or fact, the court may . . . consolidate the

   action.” But an action in state court is not, by definition, “before the court.” See

   Fedynich v. Inn Between of Longmont, No. 17-cv-1952-WJM-STV, 2018 WL

   2065371, at *4 (D. Colo. May 3, 2018) (“Plaintiffs cite to no authority—and this

   Court is aware of none—that allows for the ‘joinder’ of state and federal cases.”);

   Lett v. City of Rio Rancho, No. 21-cv-476 WJ/JFR, 2021 WL 3772216, at *1 (D.N.M.

   Aug. 25, 2021) (a “state court case cannot be consolidated with this federal case

   under Rule 42, based on the very plain language of the rule”).

          Consequently, this Court cannot consolidate this case with the Mesa County

   case under Fed. R. Civ. P. 42. This is so despite Montalbano’s arguments that both

   cases involve common parties and facts, and that failure to consolidate will harm

   her.




                                               4
Case 1:20-cv-00742-DDD-KLM Document 325 Filed 08/17/22 USDC Colorado Page 5 of 9




   II.   This Court does not have a basis under § 2283 to stay the Mesa
         County case.

         Section 2283 provides that “[a] court of the United States may not grant an

   injunction to stay proceedings in a State court except as expressly authorized by Act

   of Congress, or where necessary in aid of its jurisdiction, or to protect or effectuate

   its judgments.” The statute’s “exceptions are narrow and are not to be loosely

   construed.” Tooele Cnty. v. United States, 820 F.3d 1183, 1188 (10th Cir. 2016)

   (citing Smith v. Bayer Corp., 564 U.S. 299, 306–07 (2011)). Thus, “courts should

   resolve doubts about the applicability of an exception in favor of allowing the state-

   court proceeding to continue.” Id. Montalbano’s proposed injunction does not meet

   any of these three exceptions.

         First, no Act of Congress expressly authorizes this Court to issue an

   injunction staying the Mesa County case. Montalbano cites the Colorado

   Constitution, the United States Constitution, § 2283 itself, 28 U.S.C. § 1331, and 42

   U.S.C. § 1983 as “formally enacted legislation” that would “convey authorization by

   Congress for granting the stay of the” Mesa County case. But these citations are

   inapposite. The Colorado and United States Constitutions are, by definition, not

   “Acts of Congress.” Section 2283, as cited above, does not confer authority to grant

   an injunction absent another Act of Congress. Section 1331 simply confers so-called

   federal question jurisdiction to the federal courts, see Firstenberg v. City of Santa

   Fe, 696 F.3d 1018, 1203 (10th Cir. 2012), but does not expressly authorize a federal




                                              5
Case 1:20-cv-00742-DDD-KLM Document 325 Filed 08/17/22 USDC Colorado Page 6 of 9




   court to issue injunctions to stay state court cases. And section 1983 creates a

   damages remedy for violations of civil rights by state officials, see Ziglar v. Abbasi,

   137 S. Ct. 1843, 1854 (2017), but its plain text likewise does not expressly authorize

   a federal court to issue injunctions to stay state court cases. Accordingly, Plaintiff’s

   proposed injunction does not meet the first exception.

         Second, Plaintiff cannot demonstrate that staying the Mesa County case is

   necessary in aid of this Court’s jurisdiction. The Supreme Court has applied this

   exception only when two conditions are met: (1) “both the federal and state suits

   constitute in rem or quasi in rem proceedings,” and (2) “the federal court was the

   first to take possession of the res (the property under dispute in the federal and

   state actions).” Tooele Cnty., 802 F.3d at 1188 (citing Mandeville v. Canterbury, 318

   U.S. 47, 48–49 (1943) (per curiam)). “[I]n rem proceedings affect the interests of all

   persons in a property,” whereas a quasi in rem action “affects the interests of only

   some persons in the property.” Id. (internal citation omitted). Here, neither action is

   in rem or quasi in rem, as there is no res in dispute in both actions. Rather, both

   this case and the Mesa County case are in personam actions premised on common

   law and statutory torts, as well as civil rights statutes. Furthermore, this Court has

   taken possession of any res within the meaning of the exception. Accordingly,

   Plaintiff’s proposed injunction does not meet the second exception.

         Third, Plaintiff cannot demonstrate that an injunction to stay the Mesa

   County case would protect or effect a judgment of this Court. The so-called



                                              6
Case 1:20-cv-00742-DDD-KLM Document 325 Filed 08/17/22 USDC Colorado Page 7 of 9




   “relitigation exception” only “authorizes injunctions against state adjudication of

   issues that ‘actually have been decided by the federal court.’” Weyerhauser Co. v.

   Wyatt, 505 F.3d 1104, 1110 (10th Cir. 2007) (quoting Chick Kam Choo v. Exxon

   Corp., 486 U.S. 140, 148 (1988)). This exception does not apply where no qualifying

   judgment exists. See Allstate Ins. Co. v. El Burrito Wagon, Inc., No. Civ 98-791

   LH/JHG, 1999 WL 35809515, at *1 (D.N.M. Jun 30, 1999) (citing 17 James Wm.

   Moore, MOORE’S FEDERAL PRACTICE, § 121.08[1] (noting the so-called

   relitigation exception is applicable only to fully adjudicated or actually decided

   judgments and discussing its relationship to the doctrines of res judicata and

   collateral estoppel)). The exception does not apply here because this Court has not

   issued any judgments regarding the claims in Montalbano’s “counterclaims

   complaint.” Moreover, the judgment in the Mesa County case is final and predates

   the filing of Montalbano’s claims in this lawsuit, so staying the post-judgment

   collections proceedings in the Mesa County case could not “protect or effect” any

   judgment of this Court. Accordingly, Plaintiff’s proposed injunction does not meet

   the third exception.

                                      CONCLUSION

         For these reasons, the State Defendants respectfully request that this Court

   deny Montalbano’s motion. [Doc. 322].




                                              7
Case 1:20-cv-00742-DDD-KLM Document 325 Filed 08/17/22 USDC Colorado Page 8 of 9




         Dated this 17th day of August 2022.



                                      Respectfully submitted,

                                      PHILIP J. WEISER
                                      Attorney General

                                      s/ Dmitry B. Vilner
                                      DMITRY B. VILNER*
                                      Assistant Attorney General
                                      Civil Litigation and Employment Law Section
                                      Attorneys for Third-Party Defendants Brian
                                        James Flynn, William Campbell, Matthew
                                        Grove, Diana Terry, and Christina Gomez

                                      1300 Broadway, 6th Floor
                                      Denver, Colorado 80203
                                      Telephone: 720-508-6645
                                      FAX: 720-508-6032
                                      E-Mail: Dmitry.vilner@coag.gov
                                      *Counsel of Record



   CERTIFICATION OF WORD COUNT: I hereby certify that the foregoing pleading
   complies with the type-volume limitation set forth in Judge Domenico’s Practice
   Standard III(A)(1).




                                          8
Case 1:20-cv-00742-DDD-KLM Document 325 Filed 08/17/22 USDC Colorado Page 9 of 9




                              CERTIFICATE OF SERVICE

          I certify that I served the foregoing THIRD-PARTY DEFENDANTS BRIAN
   JAMES FLYNN, WILLIAM CAMPBELL, MATTHEW GROVE, DIANA TERRY,
   AND CHRISTINA GOMEZ’S RESPONSE TO ALYSSA MONTALBANO’S
   “EMERGENCY MOTION STAY COURT CASE 18CV50 PURSUANT 28 USC 2283
   AND CONSOLIDATE CASES PURUANT FRCP 42(a)” [Doc. 322] upon all parties
   herein by e-filing with the CM/ECF system maintained by the court or by depositing
   copies of same in the United States mail, first-class postage prepaid, at Denver,
   Colorado, this 17th day of August, 2022, addressed as follows:


      Valerie Ann Yanaros
      Yanaros Law PC
      5057 Keller Springs, Suite 300               Michael Jacob Laszlo
      Addison, TX 76001                            Laszlo & Associates, LLC
      Attorneys for James Corey Goode and          2595 Canyon Blvd., Suite 210
      Goode Enterprise Solutions, Inc.             Boulder, CO 80302
                                                   Attorneys for Benjamin Zavodnick
      Daniel Andrew Dingerson
      Ina B. Scher                                 Timothy M. Murphy
      Davis & Gilber, LLP                          Robinson & Henry PC
      1675 Broadway                                7555 E. Hampden Ave., Suite 600
      New York, NY 10019                           Denver, CO 80231
      Attorneys for Gaia, Inc.; Jirka Rysavy;      Attorneys for Elizabeth Lorie
      Brad Warkins; and Kiersten Medvedich
                                                   Alyssa Chrystie Montalbano
      Aaron Bardin Belzer                          2536 Rimrock Ave. Suite 400-117
      Ashlee Nicole Hoffman                        Grand Junction, CO 81505
      Burnham Law Firm PC                          LegalZenACM@gmail.com
      2760 29th Street, Suite 1E                   Pro se
      Boulder, CO 80301
      Attorneys for Jay Weidner


                                            s/ Denise Munger




                                             9
